                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 1 of 42 Page ID #:1




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                                       4
                                       5    Attorney for Plaintiff,
                                       6    CLAIRECE R. ANDRUS
                                       7
                                       8
                                                                        UNITED STATES DISTRICT COURT
                                       9
                                      10                            CENTRAL DISTRICT OF CALIFORNIA
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                                      11    CLAIRECE R. ANDRUS, Individually                   Case No.:
                                      12
                                            and as a Successor-In-Interest to AMY
                                            MARIE PALUBICKI, decedent,
                                                                                               COMPLAINT FOR WRONGFUL
                                      LAW




                                      13                   Plaintiff,
                                                                                               DEATH AND SURVIVAL ACTION
                                      14
                                                   vs.                                         DAMAGES:
                                      15
                                            CITY OF LOS ANGELES;
                                            LAPD Officer RUIZ (Badge #44215);                  1. Violation of the Fourth & Fourteenth
                                      16
                                            LAPD Officer KIM (Badge #42236);                   Amendments - Unreasonable Seizure -
                                      17    LAPD Officer CARBONELL (Unknown                    Arrest (42 U.S.C. § 1983)
                                            Badge Number); COUNTY OF LOS
                                      18    ANGELES and DOES 1 through 10,                     2. Violation of the Fourth & Fourteenth
                                            Inclusive,                                         Amendments - Unreasonable Seizure -
                                      19                                                       Excessive Force (42 U.S.C. § 1983)
                                                           Defendants.
                                      20                                                       3. Violation of the Fourth, Eighth &
                                                                                               Fourteenth Amendments - Deliberate
                                      21
                                                                                               Indifference to and Denial of Medical and
                                      22                                                       Mental Health Care (42 U.S.C. § 1983)
                                                                                               4. Violation of the Fourteenth
                                      23
                                                                                               Amendment - Denial of Substantive Due
                                      24                                                       Process (42 U.S.C. § 1983)
                                      25                                                       5. Municipal Liability for
                                                                                               Unconstitutional Custom, Practice,
                                      26                                                       or Policy (42 U.S.C. § 1983)
                                      27                                                       6. Municipal Liability - Failure to
                                                                                               Train (42 U.S.C. § 1983)
                                      28

                                             ________________________________________________1_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 2 of 42 Page ID #:2




                                       1                                                       7. False Arrest/False Imprisonment
                                                                                               (Wrongful Death)
                                       2                                                       8. Battery (Wrongful Death)
                                       3                                                       9. Negligence (Wrongful Death)
                                                                                               10. Intentional Infliction of Emotional
                                       4                                                       Distress (Wrongful Death)
                                       5                                                       11. Violation of the California Tom Bane
                                                                                               Act (California Civil Code § 52.1)
                                       6
                                                                                               (Wrongful Death)
                                       7                                                       12. Violation of the American With
                                       8                                                       Disabilities Act (ADA)

                                       9                                                       DEMAND FOR JURY TRIAL
                                      10
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                                                                          COMPLAINT FOR DAMAGES
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                                      11
                                      12    1.     Plaintiff, CLAIRECE R. ANDRUS, Individually and as a Successor-In-Interest
                                            to AMY MARIE PALUBICKI, decedent, for her complaint against Defendants CITY
                                      LAW




                                      13
                                      14    OF LOS ANGELES; LAPD Officer RUIZ (Badge #44215); LAPD Officer KIM
                                      15    (Badge #42236); LAPD Officer CARBONELL (Unknown Badge Number);
                                      16    COUNTY OF LOS ANGELES and DOES 1 through 10, Inclusive, alleges as
                                      17    follows:
                                      18                                           INTRODUCTION
                                      19    2.     This civil rights action seeks compensatory damages from Defendants and each
                                      20    of them and punitive damages from the individual Defendants for violating various
                                      21    rights under the United States Constitution and California State law in connection
                                      22
                                            with the false arrest and imprisonment of, and the failure to provide adequate health
                                      23
                                            care to, AMY MARIE PALUBICKI, decedent.
                                      24
                                                                                         PARTIES
                                      25
                                            3.     At all relevant times, AMY MARIE PALUBICKI (“DECEDENT”) was an
                                      26
                                            individual residing in the County of Los Angeles, California. Her date of birth was
                                      27
                                            March 18, 1981. Furthermore, at all relevant times herein, DECEDENT weighed
                                      28

                                             ________________________________________________2_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 3 of 42 Page ID #:3




                                       1    approximately 380 pounds, had apparent physical symptoms indicating a bad heart

                                       2    condition, and suffered from a serious mental disability within the meaning of the
                                       3    Americans With Disabilities Act, to wit, manic depressive bipolar disorder.
                                       4    Additionally, DECEDENT had suicidal ideation, suffered from insomnia and had
                                       5    breathing problems while sleeping. Indeed, Plaintiff physical and mental impairment
                                       6    substantially limited one or more of her major life activities. In fact, DECEDENT had
                                       7    a record of suffering from bipolar impairment and was regarded by her physicians as
                                       8    having such impairment.
                                       9    4.     Plaintiff CLAIRECE R. ANDRUS is an individual residing in Los Angeles
                                      10    County, California, and was at all relevant times the natural daughter of
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                                      11    DECEDENT. CLAIRECE R. ANDRUS sues herein in her individual capacity and in
                                      12
                                            a representative capacity as a successor-in-interest to DECEDENT.
                                      LAW




                                      13
                                            CLAIRECE R. ANDRUS (“Plaintiff”) seeks both survival and wrongful death
                                      14
                                            damages under federal and state law.
                                      15
                                            5.     At all relevant times, Defendant CITY OF LOS ANGELES (“CITY”) was/is a
                                      16
                                            public entity and a municipality duly organized and existing under the laws of the
                                      17
                                            State of California. At all relevant times, CITY was the employer of all its medical
                                      18
                                            personnel, and its police officers and employees working for the Los Angeles Police
                                      19
                                            Department (“LAPD”), and specifically the employer of Defendants LAPD Officer
                                      20
                                      21
                                            RUIZ (Badge #44215) (“RUIZ”), LAPD Officer KIM (Badge #42236) (“KIM”),

                                      22    LAPD Officer CARBONELL (unknown Badge Number) (“CARBONELL”) and

                                      23    DOES 1 through 7, Inclusive.
                                      24    6.     On information and belief, at all relevant times, RUIZ, KIM, CARBONELL
                                      25    and DOES 1 through 7, Inclusive, were residents of the County of Los Angeles,
                                      26    California.
                                      27    7.     Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive, are
                                      28    being sued herein in both their individual capacity and in their official capacity.

                                             ________________________________________________3_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 4 of 42 Page ID #:4




                                       1    8.     At all relevant times, Defendants RUIZ, KIM, CARBONELL and

                                       2    DOES 1 through 7, Inclusive, were duly authorized employees and agents of CITY,
                                       3    who were acting under color of law within the course and scope of their respective
                                       4    duties and with the complete authority and ratification of their principal, Defendant
                                       5    CITY, and subject to oversight and supervision by Defendant CITY’s elected and
                                       6    nonelected officials.
                                       7    9.     In doing the acts and failing and/or omitting to act as hereinafter described,
                                       8    Defendants RUIZ, KIM, CARBOELL and DOES 1 through 7, Inclusive, were acting
                                       9    on the implied and actual permission and consent of Defendant CITY.
                                      10    10.    At all times mentioned herein, each and every CITY defendant was the agent
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                                      11    of each and every other CITY defendant and had the legal duty to oversee and
                                      12
                                            supervise the hiring, conduct and employment of each and every CITY defendant.
                                      LAW




                                      13
                                            11.    The true names of defendants DOES 1 through 7, Inclusive, are unknown to
                                      14
                                            Plaintiff, who therefore sues these defendants by such fictitious names. Plaintiff will
                                      15
                                            seek leave to amend this complaint to show the true names and capacities of these
                                      16
                                            defendants when they have been ascertained. Each of the fictitious named defendants
                                      17
                                            is responsible in some manner for the conduct and liabilities alleged herein.
                                      18
                                            12.    On or about August 6, 2021, Plaintiff served her claim for damages with CITY
                                      19
                                            pursuant to applicable sections of the California Government Code.
                                      20
                                      21
                                            On October 5, 2021, CITY rejected Plaintiff’s claim for damages.

                                      22    13.    At all relevant times, Defendant COUNTY OF LOS ANGELES (“COUNTY”)

                                      23    was/is a public entity and a municipality duly organized and existing under the laws
                                      24    of the State of California. At all relevant times, COUNTY was the employer of all
                                      25    deputies of its Los Angeles County Sheriff Department, its employees and DOES 8
                                      26    through 10, Inclusive.
                                      27    14.    On information and belief, at all relevant times, DOES 8 through 10, Inclusive,
                                      28

                                             ________________________________________________4_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 5 of 42 Page ID #:5




                                       1    were residents of the County of Los Angeles, California, and are being sued herein in

                                       2    both their individual capacity and their official capacity.
                                       3    15.    At all relevant times, Defendants DOES 8 through 10, Inclusive, were duly
                                       4    authorized deputies, employees and agents of Defendant COUNTY, who were acting
                                       5    under color of law within the course and scope of their respective duties and with the
                                       6    complete authority and ratification of their principal, Defendant COUNTY, and
                                       7    subject to oversight and supervision by COUNTY’s elected and nonelected officials.
                                       8    16.    In doing the acts and failing and omitting to act as hereinafter described,
                                       9    Defendants DOES 8 through 10, Inclusive, were acting on the implied and actual
                                      10    permission and consent of COUNTY.
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                                      11    17.    At all times mentioned herein, each and every COUNTY defendant was the
                                      12
                                            agent of each and every other COUNTY defendant and had the legal duty to oversee
                                      LAW




                                      13
                                            and supervise the hiring, conduct and employment of each and every COUNTY
                                      14
                                            defendant.
                                      15
                                            18.    The true names of defendants DOES 8 through 10, Inclusive, are unknown to
                                      16
                                            Plaintiff, who therefore sues these defendants by such fictitious names. Plaintiff will
                                      17
                                            seek leave to amend this complaint to show the true names and capacities of these
                                      18
                                            defendants when they have been ascertained. Each of the fictitious named defendants
                                      19
                                            is responsible in some manner for the conduct and liabilities alleged herein.
                                      20
                                      21
                                            19.    On or about August 6, 2021, Plaintiff served her claim for damages with

                                      22    COUNTY pursuant to applicable sections of the California Government Code.

                                      23    On August 31, 2021, COUNTY rejected Plaintiff’s claim for damages.
                                      24                                   JURISDICTION AND VENUE
                                      25    20.    This civil action is brought for the redress of alleged deprivations of
                                      26    constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the
                                      27    Fourth, Eighth and Fourteenth Amendments of the United States Constitution.
                                      28    Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367.

                                             ________________________________________________5_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 6 of 42 Page ID #:6




                                       1    21.    Venue is proper in this Court under 28 U.S.C. § 1391(b), because Defendants

                                       2    reside in, and all incidents, events, and occurrences giving rise to this action occurred
                                       3    in the County of Los Angeles, California.
                                       4                    FACTS COMMON TO ALL CLAIMS FOR RELIEF
                                       5    22.    Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                       6    through 21 of this Complaint with the same force and effect as if fully set forth
                                       7    herein.
                                       8    23.    Around February 14, 2021, DECEDENT, AMY MARIE PALUBICKI,
                                       9    stopped taking her prescribed mental health medication(s) and fell into a continuing
                                      10    serious bipolar manic stage. She began making repeated statements that she wants to
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                                      11    “go be” with her father who had recently passed away and began having difficulty
                                      12
                                            sleeping. The manic stage persisted with little to no relief until DECEDENT’s death
                                      LAW




                                      13
                                            on February 25, 2021.
                                      14
                                            24.    In the morning hours of February 19, 2021, DECEDENT was at her friend
                                      15
                                            Cathy Grayboyes’s residence at 5926 Comey Ave., Los Angeles, California
                                      16
                                            (“HOUSE”). At the HOUSE, DECEDENT made multiple statements that indicated
                                      17
                                            she wanted to end her life and “join” her deceased father. Frustrated, she began to
                                      18
                                            throw things around the backyard. Her other friend, Cynthia who was also present at
                                      19
                                            the location contacted the Los Angeles Police Department by telephone and requested
                                      20
                                      21
                                            that an involuntary psychiatric ‘5150-hold’ (California Welfare & Institution Code §

                                      22    5150) be placed on DECEDENT since DECEDENT posed a serious risk to

                                      23    DECEDENT’s own life. Additionally, DECEDENT’s fiancé, Jeremiah Dean Snyder,
                                      24    arrived within 5-10 minutes at the HOUSE. Defendants LAPD Officers RUIZ, KIM
                                      25    and DOES 1 through 7, Inclusive also arrived within approximately 5-10 minutes at
                                      26    the alley of the HOUSE, as well as two other LAPD units with unidentified police
                                      27    officers. At that point, Mr. Snyder advised Defendants RUIZ, KIM and DOES 1
                                      28    through 7, Inclusive that DECEDENT was off her mental health medication(s) for

                                             ________________________________________________6_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 7 of 42 Page ID #:7




                                       1    several days; had not been sleeping in days; and had been manically depressed due to

                                       2    her bipolar illness. He further advised Defendants RUIZ, KIM and DOES 1 through
                                       3    7, Inclusive, that DECEDENT’s grandmother passed away in November 2020; her
                                       4    father passed away shortly thereafter on December 2, 2020; that she had been
                                       5    suffering from a bipolar manic episode for about 5 days; and that she never injured
                                       6    anyone and actually worked helping people. He also further advised Defendants
                                       7    RUIZ, KIM and DOES 1 through 7, Inclusive, that DECEDENT threw away her
                                       8    identification card, driver license, bank cards and other important things in the trash
                                       9    in a local park and was in distress repeatedly telling people that she wanted to be with
                                      10    her deceased father. Mr. Snyder further disclosed to Defendants RUIZ, KIM and
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                                      11    DOES 1 through 7, Inclusive, that a social worker had seen DECEDENT. Defendants
                                      12
                                            RUIZ, KIM and DOES 1 through 7, Inclusive, specifically asked Mr. Snyder if
                                      LAW




                                      13
                                            DECEDENT was a threat to them if they approached her wearing their police
                                      14
                                            uniforms and Mr. Snyder responded that she never harmed anyone. Mr. Snyder also
                                      15
                                            advised RUIZ, KIM and DOES 1 through 7, Inclusive, that, since February 16, 2021,
                                      16
                                            DECEDENT’s legs and feet were swollen (a known symptom of a heart disease).
                                      17
                                            Additionally, Defendants RUIZ, KIM and DOES 1 through 7, Inclusive, also became
                                      18
                                            aware that DECEDENT weighted 380 lbs. Mr. Snyder then went to the backyard of
                                      19
                                            the location and assisted DECEDENT into the HOUSE and onto a chair. Shortly
                                      20
                                      21
                                            thereafter, RUIZ, KIM and DOES 1 through 7, Inclusive, announced that they will

                                      22    not place a ‘5150-hold’ on DECEDENT and that he can contact the Los Angeles

                                      23    County Department of Mental Health for her. Mr. Synder told them that he already
                                      24    tried that and was told DECEDENT can be taken to a hospital. Regardless, all LAPD
                                      25    police officers left the HOUSE without placing DECEDENT on a ‘5150-hold.’
                                      26    25.    Within minutes after the LAPD police officers left the HOUSE as described
                                      27    supra, DECEDENT urinated on herself from distress. She then agreed to be
                                      28    transported by Mr. Synder to a hospital. However, as DECEDENT was escorted by

                                             ________________________________________________7_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 8 of 42 Page ID #:8




                                       1    Mr. Snyder to the alley near where the car was parked, she said she wanted to “go

                                       2    into traffic” and “go be” with her deceased father. She then walked onto the
                                       3    oncoming moving traffic. Afraid that she might be hit by a moving car, Mr. Snyder
                                       4    grabbed her to stop her from walking further onto the oncoming traffic but she
                                       5    resisted him and due to the struggle and/or while she tried to get away, she accidently
                                       6    scratched his face near his right eye. Nonetheless, Mr. Snyder did not let go of her
                                       7    and pulled her back toward the safety of the sidewalk near a crosswalk. DECEDENT
                                       8    then took a step forward into the crosswalk in the oncoming traffic despite the fact
                                       9    that the pedestrian light was red and she was almost hit by a moving vehicle. Mr.
                                      10    Snyder was able to pull her back to the sidewalk and she then laid down in the street
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                                      11    on cement until she finally agreed to walk back to the HOUSE with Mr. Snyder.
                                      12
                                            26.    Within a few minutes of DECEDENT entering the HOUSE, Defendants RUIZ,
                                      LAW




                                      13
                                            KIM and DOES 1 through 7, Inclusive, arrived again at the alley of the HOUSE at
                                      14
                                            approximately 11:20 a.m., following a second 911 call that requested the LAPD to
                                      15
                                            place a ‘5150-hold’ on DECEDENT. Two other unidentified LAPD units also arrived
                                      16
                                            at the location, and within a short time two more unidentified LAPD units arrived.
                                      17
                                            Defendant RUIZ interviewed Mr. Snyder while Defendant KIM interviewed
                                      18
                                            DECEDENT’s friend - Ms. Grayboyes. Mr. Snyder described to Defendant RUIZ
                                      19
                                            what had taken place with DECEDNT since the LAPD left the HOUSE a little while
                                      20
                                      21
                                            earlier that morning. When Defendant RUIZ inquired why Mr. Snyder had a scratch

                                      22    on his face, Mr. Snyder explained that he physically grabbed DECEDENT to stop her

                                      23    from walking onto the moving traffic and killing herself, and as DECEDENT resisted
                                      24    him and/or tried to get away from him, she accidently scratched his face. He stated to
                                      25    Defendant RUIZ that he does not wish to “press charges” and that DECEDENT was
                                      26    not at fault for his injury but rather was merely trying to get away from him. Yet,
                                      27    shortly thereafter at 11:25 a.m. of February 19, 2021, Defendants RUIZ, KIM and
                                      28    DOES 1 through 7, Inclusive, proceeded to place DECEDENT under arrest, using

                                             ________________________________________________8_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 9 of 42 Page ID #:9




                                       1    three connected handcuffs. They then took DECEDENT into custody for a felony

                                       2    domestic violence charge despite obvious lack of evidence that DECEDENT had any
                                       3    intentions whatsoever to hurt Mr. Snyder or anyone else other than herself, or had
                                       4    any intentions to commit a crime.
                                       5    No ‘5150-hold’ was placed on DECEDENT and DECEDENT was transported to the
                                       6    LAPD Jail Division instead of to the very much needed Emergency Room and/or a
                                       7    mental health hospital. DECEDENT was then booked by Defendants CITY and
                                       8    DOES 1 through 7, Inclusive, at 2:36 p.m. at the LAPD Metropolitan Detention
                                       9    Center.
                                      10    27.    Within minutes of DECEDENT’s wrongful arrest and seizure, Mr. Snyder
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                                      11    requested of Defendants RUIZ, KIM and DOES 1 through 7, Inclusive, to take
                                      12
                                            DECEDENT’s mental health prescribed medication and C-PAP machine to her since
                                      LAW




                                      13
                                            both were available at the HOUSE. However, Defendants RUIZ, KIM and DOES 1
                                      14
                                            through 7, Inclusive, refused to do so.
                                      15
                                            28.    At the time of her arrest, DECEDENT posed no immediate threat of injury to
                                      16
                                            any of the LAPD Officers, Mr. Snyder, or any other person, never verbally threatened
                                      17
                                            anyone and did not have any weapons. Further, DECEDENT was not suspected of
                                      18
                                            committing any serious crime and none of the involved LAPD officers observed her
                                      19
                                            commit any crime. Indeed, they had no information whatsoever that she intentionally
                                      20
                                      21
                                            injured anyone. To the contrary, Mr. Snyder specifically stated to Defendant RUIZ

                                      22    prior to said wrongful arrest that DECEDENT was merely attempting to release

                                      23    herself from his physical grip on her when she accidently scratched his face.
                                      24    Furthermore, the LAPD knew that DECEDNT had no history of violence whatsoever
                                      25    and that a social worker was assigned to her.
                                      26    29.    The LAPD did not provide or summon timely medical attention for
                                      27    DECEDENT, who was in a clear and complete mental health crisis, was experiencing
                                      28    a serious bipolar manic episode, and had swollen legs and feet which indicative of a

                                             ________________________________________________9_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 10 of 42 Page ID #:10




                                       1    heart disease and enhanced vulnerability to heart failure and required a C-PAP

                                       2    machine to breathe while sleeping.
                                       3    30.   During DECEDENT’s entire wrongful detention and incarceration at LAPD
                                       4    Metropolitan Detention Center, she required urgent medical care for her serious heart
                                       5    condition, her enhanced vulnerability to heart failure, her swollen legs and feet,
                                       6    urgent mental health care for her serious bipolar manic depressive episode,
                                       7    appropriate medications, counseling, a proper bed and a C-PAP machine, but none
                                       8    whatsoever was provided to her and she was denied the health care she so desperately
                                       9    needed and was entitled to.
                                      10    31.   On or around February 19, 2021 following the wrongful arrest of DECEDENT,
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                                      11    DECEDENT’s sister, Anita Bower, contacted the LAPD and spoke to Defendant
                                      12
                                            LAPD Officer CARBONELL and explained that DECEDENT needed the
                                      LAW




                                      13
                                            intervention of a mental health care provider and appropriate medications.
                                      14
                                            But, despite several verbal assurances that DECEDENT would be taken care of at the
                                      15
                                            jail and that he will see to it, DECEDENT received no appropriate health care
                                      16
                                            intervention and was forced to remain in custody without any relief whatsoever.
                                      17
                                            32.   On February 23, 2021, the Honorable Judge of the Los Angeles Superior Court
                                      18
                                            ordered the release of DECEDENT from custody.
                                      19
                                            33.   DECEDENT was transported from the CITY’s Metropolitan Detention Center
                                      20
                                      21
                                            to Defendant COUNTY’s Century Regional Detention Facility Women’s Jail in

                                      22    Lynwood where COUNTY and DOES 8 through 10, Inclusive, incarcerated her

                                      23    overnight with no meaningful medical and mental health care intervention.
                                      24    DECEDENT was finally released from Regional Detention Facility Women’s Jail on
                                      25    February 24, 2021 at 11:55 a.m., and shortly thereafter transported by COUNTY and
                                      26    DOES 8-10, Inclusive, to EXODUS RECOVERY, INC. (aka ‘Exodus Mental Health
                                      27    Urgent Care’) (hereinafter “EXODUS”) where she was hospitalized for a 72-hours
                                      28    involuntary psychiatric evaluation (‘5150-hold’).

                                            ________________________________________________10_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 11 of 42 Page ID #:11




                                       1    34.   During DECEDENT’s wrongful detention and incarceration at the COUNTY’s

                                       2    Century Regional Detention Facility Women’s Jail, she required urgent medical care
                                       3    for her serious heart condition, her enhanced vulnerability to heart failure, her
                                       4    swollen legs and feet, urgent mental health care for her serious bipolar manic
                                       5    depressive episode, appropriate medications, counseling, a proper bed and a C-PAP
                                       6    machine, but none whatsoever was provided to her and she was denied the health care
                                       7    she so desperately needed and was entitled to.
                                       8    35.   On February 25, 2021 (the following day after DECEDENT’s delayed release
                                       9    from Century Regional Detention Facility Women’s Jail in Lynwood), DECEDENT
                                      10    was found dead at EXODUS at age 39. The COUNTY’s Medical Examiner-Coroner
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   5850 Canoga Avenue, Suite 308




                                      11    determined that she died of hypertrophic heart disease (‘enlarged heart’).
                                      12
                                            36.   DECEDENT’s heart condition was made significantly worse and was
                                      LAW




                                      13
                                            exacerbated by the severe distress, trauma, shock, grief, agony, and torment, she
                                      14
                                            suffered when RUIZ, KIM and DOES 1 through 10, Inclusive, consisting of
                                      15
                                            numerous police units and numerous police officers failed to take her for an
                                      16
                                            involuntary 72-hours psychiatric evaluation (‘5150-hold’) when they first arrived at
                                      17
                                            the HOUSE and were informed of her mental crisis; when they arrived at the HOUSE
                                      18
                                            the second time that day and placed DECEDENT under arrest in three connected
                                      19
                                            handcuffs for a fabricated felony crime and took her into custody; when she was
                                      20
                                      21
                                            wrongfully incarcerated at Metropolitan Detention Center from February 19, 2021

                                      22    through February 23, 2021 without any meaningful medical and/or mental health

                                      23    care; and when she was wrongfully incarcerated by COUNTY and DOES 8 through
                                      24    10, Inclusive, from February 23, 2021 through February 24, 2021 with no meaningful
                                      25    medical and/or mental health care. These said acts and/or omissions were the direct
                                      26    and proximate cause of DECEDENT’s heart failure and untimely death.
                                      27    37.   Defendants refusal to place a ‘5150-hold’ on DECEDENT in the two
                                      28    encounters she had with the LAPD as described herein supra, the excessive number

                                            ________________________________________________11_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 12 of 42 Page ID #:12




                                       1    of police officers and police units that arrived at the location of the HOUSE, the

                                       2    unjust arrest of DECEDENT for a felony crime while she was in a complete and total
                                       3    mental health crisis, the denial of health care and/or the refusal to give the proper
                                       4    health care to DECEDENT while in Defendants’ custody, the pursuit of a baseless
                                       5    criminal case against DECEDENT, and the delay in release from custody, caused
                                       6    DECEDENT extreme physical and emotional pain and suffering, and was a
                                       7    contributing cause of and a significant factor to DECEDENT’s premature death.
                                       8    38.   As a direct and proximate result of Defendants acts and/or omissions as
                                       9    described supra, to wit, the refusal to place a 5150-hold on DECEDENT in the two
                                      10    encounters, the wrongful arrest and imprisonment of DECEDENT, the pursuit of a
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                                      11    baseless criminal case against DECEDENT, the lack of medical and/or mental health
                                      12
                                            care at both the CITY’s Metropolitan Detention Center and COUNTY’s Century
                                      LAW




                                      13
                                            Regional Detention Facility Women’s Jail, and the additional day of incarceration
                                      14
                                            despite a Court Ordered release, DECEDENT’s heart was pushed to its limits,
                                      15
                                            deteriorated and failed thereby causing her pre-mature death.
                                      16
                                                                        FIRST CLAIM FOR RELIEF
                                      17                   Violation of the Fourth & Fourteenth Amendments –
                                      18                      Unreasonable Seizure - Arrest (42 U.S.C. § 1983)
                                                    (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                      19
                                                                          COUNTY and DOES 1-10)
                                      20    39.   Plaintiff repeats and realleges each and every allegation in paragraph 1 through
                                      21    38 of this Complaint with the same force and effect as if fully set forth herein.
                                      22    40.   Defendants CITY, RUIZ, KIM, CARBONELL and DOES 1 through 7,
                                      23    Inclusive, detained, seized and arrested DECEDENT in violation of her right to be
                                      24    secure in her person against unreasonable seizures as guaranteed to DECEDENT
                                      25    under the Fourth Amendment to the United States Constitution and applied to state
                                      26
                                            actors by the Fourteenth Amendment.
                                      27
                                            41.   Defendants COUNTY and DOES 8 through 10, Inclusive, imprisoned
                                      28

                                            ________________________________________________12_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 13 of 42 Page ID #:13




                                       1    DECEDENT in violation of her right to be secure in her person against unreasonable

                                       2    seizures as guaranteed to DECEDENT under the Fourth Amendment to the United
                                       3    States Constitution and applied to state actors by the Fourteenth Amendment.
                                       4    42.    As a result of the conduct and/or omissions of Defendants CITY, RUIZ, KIM,
                                       5    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, they are liable for
                                       6    DECEDENT’s injury and death because they were integral participants to the
                                       7    violations of DECEDENT’s rights.
                                       8    43.    The DECEDENT was arrested under a ruse without reasonable suspicion and
                                       9    without probable cause by CITY, RUIZ, KIM, CARBONELL and DOES 1 through
                                      10    7, Inclusive, for a felony domestic violence crime which said Defendants reasonably
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                                      11    knew and/or should have reasonably known was unjustified.
                                      12
                                            44.    The DECEDENT was further wrongfully detained and imprisoned by
                                      LAW




                                      13
                                            COUNTY and DOES 8 through 10, Inclusive, without any justification whatsoever.
                                      14
                                            45.    The conduct and/or omissions of RUIZ, KIM, CARBONELL and DOES 1
                                      15
                                            through 7, Inclusive, was willful, wanton, malicious, oppressive, fraudulent and done
                                      16
                                            with reckless disregard for the rights and safety of DECEDENT and therefore
                                      17
                                            warrants the imposition of exemplary and punitive damages as to the individual
                                      18
                                            Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive.
                                      19
                                            46.    Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      20
                                      21
                                            DOES 1 through 10, Inclusive, are each liable for compensatory damages, including

                                      22    both survival damages and wrongful death damages under 42 U.S.C. §1983, to

                                      23    Plaintiff who brings this claim as a successor-in-interest to DECEDENT and as her
                                      24    natural daughter.
                                      25    47.    Plaintiff also seeks attorney fees under this claim.
                                      26
                                            ///
                                      27
                                            ///
                                      28

                                             ________________________________________________13_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 14 of 42 Page ID #:14




                                       1                              SECOND CLAIM FOR RELIEF
                                                           Violation of the Fourth & Fourteenth Amendments –
                                       2                Unreasonable Seizure - Excessive Force (42 U.S.C. § 1983)
                                       3            (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                                                          COUNTY and DOES 1-10)
                                       4    48.   Plaintiff repeats and realleges each and every allegation in paragraph 1 through
                                       5
                                            47 of this Complaint with the same force and effect as if fully set forth herein.
                                       6
                                            49.   Defendants CITY, RUIZ, KIM, CARBONELL and DOES 1 through 7,
                                       7
                                            Inclusive, detained, seized and arrested DECEDENT in violation of her right to be
                                       8
                                            secure in her person against unreasonable seizures as guaranteed to DECEDENT
                                       9
                                            under the Fourth Amendment to the United States Constitution and applied to state
                                      10
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                                            actors by the Fourteenth Amendment. Defendants CITY, RUIZ, KIM, CARBONELL
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                                      11
                                            and DOES 1 through 7, Inclusive, could have and should have placed a ‘5150-hold’
                                      12
                                            on DECEDENT and transported her to a mental health facility and/or to a hospital’s
                                      LAW




                                      13
                                      14
                                            emergency room. Yet, said Defendants failed to do so and instead chose to place her

                                      15    under arrest for under the ruse of a fabricated felony crime and without any

                                      16    justification. To make matters worse, Defendants CITY, RUIZ, KIM and DOES 1
                                      17    through 7, Inclusive, placed three handcuffs on Plaintiff’s wrists.
                                      18    50.   Defendants COUNTY and DOES 8 through 10, Inclusive, detained, seized and
                                      19    imprisoned DECEDENT in violation of her right to be secure in her person against
                                      20    unreasonable seizures as guaranteed to DECEDENT under the Fourth Amendment to
                                      21    the United States Constitution and applied to state actors by the Fourteenth
                                      22    Amendment. Defendants COUNTY and DOES 8 through 10, Inclusive, should have
                                      23    released DECEDENT from custody forthwith the Court’s Order for release but failed
                                      24    to do so and instead incarcerated DECEDENT overnight. Additionally, Defendants
                                      25    COUNTY and DOES 8 through 10, Inclusive, should have provided medical and
                                      26
                                            mental health care to DECEDENT while in custody and failed to do so.
                                      27
                                      28

                                            ________________________________________________14_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 15 of 42 Page ID #:15




                                       1    51.   As a result of the conduct and/or omissions of CITY, RUIZ, KIM,

                                       2    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, they are liable for
                                       3    DECEDENT’s injury and death because they were integral participants to the
                                       4    violations of DECEDENT’s rights.
                                       5    52.   The conduct and/or omissions of RUIZ, KIM, CARBONELL and DOES 1
                                       6    through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent and
                                       7    done with reckless disregard for the rights and safety of DECEDENT and therefore
                                       8    warrants the imposition of exemplary and punitive damages as to the individual
                                       9    Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive.
                                      10    53.   Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
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                                      11    DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      12
                                            both survival damages and wrongful death damages under 42 U.S.C. §1983, to
                                      LAW




                                      13
                                            Plaintiff who brings this claim as a successor-in-interest to DECEDENT and as her
                                      14
                                            natural daughter.
                                      15
                                            54.   Plaintiff also seeks attorney fees under this claim.
                                      16
                                                                      THIRD CLAIM FOR RELIEF
                                      17              Violation of the Fourth, Eighth & Fourteenth Amendments –
                                      18     Deliberate Indifference and Denial of Proper Medical and Mental Health Care
                                                                             (42 U.S.C. § 1983)
                                      19
                                                    (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                      20                                 COUNTY and DOES 1-10)
                                      21
                                            55. Plaintiff repeats and realleges each and every allegation in paragraphs 1

                                      22    through 54 of this Complaint with the same force and effect as if fully set forth

                                      23    herein.
                                      24    56.   42 U.S.C. § 1983 provides in part: “Every person who, under color of any
                                      25    statute, ordinance, regulation, custom, or usage, of any state … subjects, or causes to
                                      26    be subjected, a citizen of the Unites States or other person within the jurisdiction
                                      27    thereof to the deprivation of any rights, privileges, or immunities secured by the
                                      28    Constitution and laws shall be liable to the party injured in an action at law, suit in

                                            ________________________________________________15_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 16 of 42 Page ID #:16




                                       1    equity, or other proper proceeding for redress.” The Fourth Amendment of the United

                                       2    States Constitution states: “The right of the people to be secure in their persons,
                                       3    houses, papers, and effects, against unreasonable searches and seizures, shall not be
                                       4    violated, and no Warrants shall issue, but upon probable cause, supported by Oath or
                                       5    affirmation, and particularly describing the place to be searched, and the persons or
                                       6    things to be seized.” The Eighth Amendment of the United States Constitution
                                       7    prohibits the federal government from imposing cruel and unusual punishments.
                                       8    More so, the Fourteenth Amendment imposes duties on custodial and law
                                       9    enforcement officials to provide humane conditions of confinement; to ensure that
                                      10    inmates receive adequate food, clothing, shelter, and medical care; and to take
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                                      11    reasonable measures to guarantee the safety of inmates.
                                      12
                                            A custodial official’s deliberate indifference to an inmate’s medial needs constitutes a
                                      LAW




                                      13
                                            violation of the Fourteenth Amendment’s Due Process clause and Eighth
                                      14
                                            Amendment. In fact, a serious medical need is present whenever the failure to treat
                                      15
                                            the prisoner’s condition could result in further significant injury or the unnecessary
                                      16
                                            and wanton infliction of pain. Estelle v. Gamble, 429 U.S. 97, 104-105 (1976);
                                      17
                                            Clouthier v. County of Contra Costa (9th Cir. 2010) 591 F.3d 1232, 1242.
                                      18
                                            57.   The deliberate indifference to DECEDENT’s plainly visible urgent health care
                                      19
                                            needs and denial of, and/or negligent examination and administration of, proper
                                      20
                                      21
                                            medical and mental health care to her by Defendants CITY, RUIZ, KIM,

                                      22    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, deprived DECEDENT

                                      23    of her right to be secure in her person against unreasonable seizures as guaranteed to
                                      24    DECEDENT under the Fourth Amendment of the United States Constitution and
                                      25    against cruel and unusual punishment as guaranteed by the Eight Amendment of the
                                      26    United States Constitution, both of which are applied to state actors by the Fourteenth
                                      27    Amendment of the United States Constitution.
                                      28

                                            ________________________________________________16_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 17 of 42 Page ID #:17




                                       1    58.   As a result, DECEDENT suffered extreme mental and physical pain, loss of

                                       2    earning capacity and loss of life. Plaintiff has also been deprived of the life-long love,
                                       3    companionship, comfort, support, society, care, and sustenance of DECEDENT, and
                                       4    will continue to be so deprived for the remainder of her natural life.
                                       5    59.   Defendants CITY, RUIZ, KIM, CARONELL, COUNTY and DOES 1 through
                                       6    10, Inclusive, knew that failure to provide timely medical and/or mental proper
                                       7    treatment and evaluation to DECEDENT could result in further significant injury or
                                       8    the unnecessary and wanton infliction of pain, but disregarded that serious medical
                                       9    need, causing DECEDENT great bodily harm and death. They also knew that
                                      10    DECEDENT’s family members would suffer an injury if DECEDENT died.
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                                      11    60.   After being placed on multiple notices as to DECEDENT’s need for urgent
                                      12
                                            medical assistance and/or mental psychiatric intervention due to her serious bipolar
                                      LAW




                                      13
                                            manic depression episode(s) in which she attempted suicide, and her swollen legs and
                                      14
                                            feet which indicated a clear heart disease and vulnerability to heart failure, and her
                                      15
                                            need for a C-PAP machine, Defendants CITY, RUIZ, KIM, CARBONELL,
                                      16
                                            COUNTY and DOES 1 through 10, Inclusive, failed to properly diagnose her
                                      17
                                            condition(s) and failed to summon and/or provide timely appropriate medical and/or
                                      18
                                            mental health care attention for her while she was suffering from a complete and utter
                                      19
                                            mental health crisis and had obvious and visible health care urgent need.
                                      20
                                      21
                                            61.   As a result of the conduct and/or omissions of CITY, RUIZ, KIM,

                                      22    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, they are liable for

                                      23    DECEDENT’s injury and death because they were integral participants to the
                                      24    violations of DECEDENT’s rights.
                                      25    62.   The conduct and/or omissions of Defendants RUIZ, KIM, CARBONELL and
                                      26    DOES 1 through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent
                                      27    and done with reckless disregard for the rights and safety of DECEDENT and
                                      28    therefore warrants the imposition of exemplary and punitive damages as to the

                                            ________________________________________________17_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 18 of 42 Page ID #:18




                                       1    individual Defendants RUIZ, KIM, CARBONELL and DOES 1through 10,

                                       2    Inclusive.
                                       3    63.   Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                       4    DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                       5    both survival damages and wrongful death damages under 42 U.S.C. §1983, to
                                       6    Plaintiff who brings this claim as a successor-in-interest to DECEDENT and as her
                                       7    natural daughter.
                                       8    64.   Plaintiff also seeks attorney’s fees under this claim.
                                       9                              FOURTH CLAIM FOR RELIEF
                                      10                         Violation of the Fourteenth Amendment –
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                                                            Denial of Substantive Due Process (42 U.S.C. § 1983)
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                                      11            (By Plaintiff against Defendants CITY, RUIZ, KIN, CARBONELL,
                                      12                                  COUNTY and DOES 1-10)
                                            65.   Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      LAW




                                      13
                                      14
                                            through 64 of this Complaint with the same force and effect as if fully set forth

                                      15    herein.

                                      16    66.   DECEDENT had a cognizable interest under the Due Process Clause of the
                                      17    Fourteenth Amendment of the United States Constitution to be free from state actions
                                      18    that deprive her of life and liberty in such a manner as to shock the conscience,
                                      19    including but not limited to, unwarranted and fabricated seizure and arrest for a
                                      20    baseless felony domestic violence and denial of urgent health care.
                                      21    67.   Plaintiff had a cognizable interest under the Due Process Clause of the
                                      22    Fourteenth Amendment of the United States Constitution to be free from state actions
                                      23    that interfere with Plaintiff’s familial relationship with her mother, the DECEDENT,
                                      24    in such a manner as to shock the conscience.
                                      25    68.   The aforementioned actions and/or omissions of Defendants CITY, RUIZ,
                                      26
                                            KIM, CARBONELL, COUNTY and DOES 1 through 10, Inclusive, along with other
                                      27
                                            undiscovered conduct, shock the conscience, in that they acted with deliberate
                                      28

                                            ________________________________________________18_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 19 of 42 Page ID #:19




                                       1    indifference to the constitutional rights of DECEDENT and Plaintiff, and with

                                       2    purpose to harm unrelated to any legitimate law enforcement objective.
                                       3    69.   As a direct and proximate result of the aforementioned actions and omissions
                                       4    of Defendants and each of them as described supra in this Complaint, DECEDENT
                                       5    suffered extreme and severe mental anguish and pain and was injured in mind and
                                       6    body and died prematurely.
                                       7    70.   As a direct and proximate result of the aforementioned acts and/or omissions of
                                       8    Defendants and each of them as described supra in this Complaint, Plaintiff suffered
                                       9    extreme and severe mental anguish and pain and have been injured in mind and body,
                                      10    and has been deprived of the life-long love, companionship, comfort, support,
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   5850 Canoga Avenue, Suite 308




                                      11    society, care and sustenance of DECEDENT and will continue to be so deprived for
                                      12
                                            the remainder of her natural life.
                                      LAW




                                      13
                                            71.   As a result of the aforementioned conduct and/or omissions of Defendants
                                      14
                                            CITY, RUIZ, KIM, CARBONELL, COUNTY and DOES 1 through 10, Inclusive as
                                      15
                                            described supra in this Complaint, they are liable for DECEDENT’S injuries and
                                      16
                                            premature death and Plaintiff’s injuries because they were integral participants in the
                                      17
                                            denial of due process.
                                      18
                                            72.   The aforementioned conduct and/or omissions of Defendants RUIZ, KIM,
                                      19
                                            CARBONELL and DOES 1 through 10, Inclusive, was willful, wanton, malicious,
                                      20
                                      21
                                            oppressive, fraudulent and done with reckless disregard for the rights and safety of

                                      22    DECEDENT and Plaintiff and therefore warrants the imposition of exemplary and

                                      23    punitive damages as to the individual Defendants RUIZ, KIM, CARBONELL and
                                      24    DOES 1 through 10, Inclusive.
                                      25    73.   Plaintiff brings this claim as an individual; as a successor-in-interest to
                                      26    DECEDENT and as her natural daughter, and seeks both survival and wrongful death
                                      27    damages for the violation of DECEDENT’s rights.
                                      28    74.   Plaintiff also seeks attorney fees under this claim.

                                            ________________________________________________19_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 20 of 42 Page ID #:20




                                       1                             FIFTH CLAIM FOR RELIEF
                                              Municipal Liability for Unconstitutional Custom or Policy (42 U.S.C. § 1983)
                                       2           (By Plaintiff against Defendants CITY, COUNTY and DOES 1-10)
                                       3
                                            75.   Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                       4
                                            through 74 of this Complaint with the same force and effect as if fully set forth
                                       5
                                            herein.
                                       6
                                       7
                                            76.   On February 19, 2021 and continuing to the present date Defendants CITY and

                                       8    DOES 1 through 7, Inclusive, deprived Plaintiff and DECEDENT of the rights and

                                       9    liberties secured to them by the Fourth and Fourteenth Amendments to the United
                                      10    States Constitution, in that said Defendants and their supervising and managerial
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   Woodland Hills, California 91367




                                            employees, agents, and representatives, acting with gross negligence and with
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                                      11
                                      12    reckless and deliberate indifference to the rights and liberties of the public in general,
                                      LAW




                                      13    and of Plaintiff and DECEDENT, and of persons in their class, situation and
                                      14    comparable position in particular, knowingly maintained, enforced and applied an
                                      15    official recognized custom, policy, and practice of:
                                      16    (a) Employing and retaining as law enforcement personnel, including but not limited
                                      17    to RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive, and other CITY
                                      18    personnel, whom Defendants CITY and DOES 1 through 7, Inclusive, at all times
                                      19
                                            material herein, knew or reasonably should have known had risky propensities for
                                      20
                                            abusing their authority and for mistreating citizens by failing to follow written CITY
                                      21
                                            Police Department policies, and having the practice of using pretexts to justly
                                      22
                                            unfounded arrests of people in a mental health crisis instead of placing a ‘5150-hold’
                                      23
                                            on them;
                                      24
                                            (b) Of inadequately supervising, training, controlling, assigning, and disciplining
                                      25
                                            CITY Police Officers, including but not limited to RUIZ, KIM, CARBONELL and
                                      26
                                            DOES 1 through 7, Inclusive, and other CITY personnel, who Defendant CITY knew
                                      27
                                      28
                                            or in the exercise of reasonable care should have known had the aforementioned


                                            ________________________________________________20_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 21 of 42 Page ID #:21




                                       1    propensities and character traits and the practice of using pretexts to justly unfounded

                                       2    arrests of people in a mental health crisis instead of placing a ‘5150-hold’ on them;
                                       3    (c) By failing to adequately train officers, including but not limited to RUIZ, KIM,
                                       4    CARBONELL and DOES 1 through 7, Inclusive, and other CITY personnel, and
                                       5    failing to institute appropriate policies and procedures, regarding detentions, arrests
                                       6    and/or ‘5150-holds’, of individuals suffering from mental illnesses, dealing with
                                       7    people in mental health crisis situations, summoning health care for individuals
                                       8    experiencing mental breakdowns, using excessive force with individuals with mental
                                       9    illnesses, ascertaining the intentions of individuals with mental illness, properly
                                      10    interpreting the actions taken by mentally ill people during their crisis, and other
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   Woodland Hills, California 91367
   5850 Canoga Avenue, Suite 308




                                      11    policies in connection with the facts stated herein in this Complaint;
                                      12
                                            (d) By having and maintaining an unconstitutional policy, custom, and practice of
                                      LAW




                                      13
                                            using pretext, ploy and ruse to justly baseless arrests of people in a mental health
                                      14
                                            crisis instead of placing a ‘5150-hold’ on them which also is demonstrated by
                                      15
                                            inadequate training regarding this subject.
                                      16
                                            77.   Said policies, customs, and practices of CITY and DOES 1 through 7,
                                      17
                                            Inclusive, were done with a deliberate indifference to individuals’ safety and rights.
                                      18
                                            78.   On February 23, 2021 and continuing to the present date Defendants COUNTY
                                      19
                                            and DOES 8 through 10, Inclusive, deprived Plaintiff and DECEDENT of the rights
                                      20
                                      21
                                            and liberties secured to them by the Fourth and Fourteenth Amendments to the

                                      22    United States Constitution, in that said Defendants and their supervising and

                                      23    managerial employees, agents, and representatives, acting with gross negligence and
                                      24    with reckless and deliberate indifference to the rights and liberties of the public in
                                      25    general, and of Plaintiff and DECEDENT, and of persons in their class, situation and
                                      26    comparable position in particular, knowingly maintained, enforced and applied an
                                      27    official recognized custom, policy, and practice of:
                                      28

                                            ________________________________________________21_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 22 of 42 Page ID #:22




                                       1    (a) Employing and retaining as law enforcement personnel, including DOES 8

                                       2    through 10, Inclusive, and other COUNTY personnel, whom Defendants COUNTY
                                       3    and DOES 8 through 10, Inclusive, at all times material herein, knew or reasonably
                                       4    should have known had risky propensities for abusing their authority and for
                                       5    mistreating citizens by failing to follow written CITY Police Department policies;
                                       6    (b) Of inadequately supervising, training, controlling, assigning, and disciplining
                                       7    COUNTY sheriff deputies, and other COUNTY personnel, who Defendant
                                       8    COUNTY and DOES 8 through 10, Inclusive, knew or in the exercise of reasonable
                                       9    care should have known had the aforementioned propensities and character traits; and
                                      10    (c) By failing to adequately train sheriff deputies, including DOES 8 through 10,
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                                      11    Inclusive, and other COUNTY personnel, and failing to institute appropriate policies,
                                      12
                                            regarding releases from incarcerations forthwith Court Orders, ‘5150-holds,’ dealing
                                      LAW




                                      13
                                            with individuals in mental health crisis situations, providing appropriate medical and
                                      14
                                            mental health care to incarcerated individuals, excessive force, and other policies in
                                      15
                                            connection with the facts stated herein in this Complaint.
                                      16
                                            79.   Said policies, customs, and practices of COUNTY and DOES 8 through 10,
                                      17
                                            Inclusive, were done with a deliberate indifference to individuals’ safety and rights.
                                      18
                                            80.   By reason of the aforementioned policies and practices of Defendants CITY,
                                      19
                                            COUNTY and DOES 1 through 10, Inclusive, DECEDENT suffered extreme and
                                      20
                                      21
                                            severe mental anguish and pain and was injured in mind and body and died

                                      22    prematurely; and Plaintiff suffered extreme and severe mental anguish and pain and

                                      23    have been injured in mind and body, and deprived of the life-long love,
                                      24    companionship, comfort, support, society, care and sustenance of DECEDENT, and
                                      25    will continue to be so deprived for the remainder of her natural life.
                                      26    81.    Defendants CITY, COUNTY, and DOES 1 through 10, Inclusive, together
                                      27    with various other officials, whether named or unnamed, had either actual or
                                      28    constructive knowledge of the deficient policies, practices and customs alleged in the

                                            ________________________________________________22_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 23 of 42 Page ID #:23




                                       1    paragraphs above. Despite having knowledge as stated above these defendants

                                       2    condoned, tolerated and through actions and inactions thereby ratified such policies.
                                       3    Said defendants also acted with deliberate indifference to the foreseeable effects and
                                       4    consequences of these policies with respect to the constitutional rights of
                                       5    DECEDENT, Plaintiffs, and other individuals similarly situated. By perpetrating,
                                       6    sanctioning, tolerating and ratifying the outrageous conduct and other wrongful acts
                                       7    and omissions, Defendants CITY, COUNTY and DOES 1 through 10, Inclusive,
                                       8    acted with an intentional, reckless, and callous disregard for the life of DECEDENT
                                       9    and Plaintiff’s and DECEDENT’s constitutional rights. Defendants CITY, COUNTY,
                                      10    and DOES 1 through 10, Inclusive, and each of their actions and/or omissions were
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                                      11    willful, wanton, oppressive, malicious, oppressive, fraudulent, and extremely
                                      12
                                            offensive and unconscionable to any person of normal sensibilities.
                                      LAW




                                      13
                                            82.    Furthermore, the policies, practices, and customs implemented and maintained
                                      14
                                            and still tolerated by Defendants CITY, COUNTY and DOES 1
                                      15
                                            through 10, Inclusive, were affirmatively linked to and were a significantly influential
                                      16
                                            force behind the injuries and death of DECEDENT and the injuries to Plaintiff.
                                      17
                                            83.    By reason of the aforementioned conduct and/or omissions of Defendants
                                      18
                                            CITY, COUNTY and DOES 1 through 10, Inclusive, DECEDENT and Plaintiff
                                      19
                                            suffered severe mental anguish and pain, and were injured in mind and/or body.
                                      20
                                      21
                                            84.    Accordingly, Defendants CITY, COUNTY and DOES 1 through 10, Inclusive,

                                      22    are each liable for compensatory damages, including both survival damages and

                                      23    wrongful death damages under 42 U.S.C. §1983, to Plaintiff who bring this claim as
                                      24    an individual; as a successor-in-interest to DECEDENT and as her natural daughter.
                                      25    85.    Plaintiff also seeks attorney fees under this claim.
                                      26    ///
                                      27    ///
                                      28    ///

                                             ________________________________________________23_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 24 of 42 Page ID #:24




                                       1                                 SIXTH CLAIM FOR RELIEF
                                                          Municipal Liability – Failure to Train (42 U.S.C. § 1983)
                                       2               (By Plaintiff against Defendants CITY, COUNTY and DOES 1-10)
                                       3
                                            86.    Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                       4
                                            through 85 of this Complaint with the same force and effect as if fully set forth
                                       5
                                            herein.
                                       6
                                       7
                                            87.    While acting under the color of state law and within the course and scope of

                                       8    their employment as police officers for the CITY police department, RUIZ, KIM,

                                       9    CARBONELL and DOES 1 through 7, Inclusive, unjustly deprived DECEDENT of
                                      10    her rights and liberties secured to her by the Americans With Disabilities Act, the
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                                            Fourth, Eighth and Fourteenth Amendments of the United States Constitution and 42
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                                      11
                                      12    U.S.C. 1983, including inter alia her right to be free from unreasonable seizures and
                                      LAW




                                      13    her right to life and liberty.
                                      14    88.    While acting under the color of state law and within the course and scope of
                                      15    their employment as police officers for the CITY police department, RUIZ, KIM,
                                      16    CARBONELL and DOES 1 through 7, Inclusive, and other CITY personnel, unjustly
                                      17    deprived Plaintiff of her rights and liberties secured to her by the Fourth and
                                      18    Fourteenth Amendments, including her right to familial relationship with her mother,
                                      19
                                            the DECEDENT.
                                      20
                                            89.    While acting under the color of state law and within the course and scope of
                                      21
                                            their employment as sheriff deputies for the COUNTY sheriff department, DOES 8
                                      22
                                            through 10, Inclusive, and other COUNTY personnel, unjustly deprived DECEDENT
                                      23
                                            of her rights and liberties secured to her by the Americans With Disabilities Act, the
                                      24
                                            Fourth, Eighth and Fourteenth Amendments of the United States Constitution and
                                      25
                                            42 U.S.C. 1983, including inter alia her right to be free from unreasonable seizures
                                      26
                                            and her right to life and liberty.
                                      27
                                      28

                                             ________________________________________________24_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 25 of 42 Page ID #:25




                                       1    90.   While acting under the color of state law and within the course and scope of

                                       2    their employment as sheriff deputies for the COUNTY sheriff department, DOES 8
                                       3    through 10, Inclusive, and other COUNTY personnel, unjustly deprived Plaintiff of
                                       4    her rights and liberties secured to her by the Fourth and Fourteenth Amendments,
                                       5    including her right to familial relationship with her mother, the DECEDENT.
                                       6    91.   The training policies of the Defendant CITY and DOES 1 through 7, Inclusive,
                                       7    were not adequate to train its police officers, including but not limited to, RUIZ,
                                       8    KIM, CARBONELL and DOES 1 through 7, Inclusive, with regards to individuals
                                       9    experiencing a mental health crisis, interpreting the intent of these individuals and
                                      10    promptly summoning urgent health care for them.
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                                      11    92.   The training policies of the Defendant COUNTY and DOES 8 through 10,
                                      12
                                            Inclusive, were not adequate to train its sheriff deputies with regards to prompt
                                      LAW




                                      13
                                            releases from custody forthwith Court Orders, and with regard to individuals
                                      14
                                            experiencing a mental health crisis in custody and promptly summoning urgent health
                                      15
                                            care for them.
                                      16
                                            93.   As a result of the wrongful conduct and/or omissions stated supra, Defendants
                                      17
                                            CITY, RUIZ, KIM, CARBONELL, COUNTY and DOES 1 through 10, Inclusive,
                                      18
                                            were not, and are not able, to handle the usual and recurring situations with which
                                      19
                                            they must deal with individuals in a mental health crisis, place individuals on ‘5150-
                                      20
                                      21
                                            holds’ when these individuals require immediate urgent psychiatric evaluation, health

                                      22    care intervention and transport to appropriate mental health care providers, and/or

                                      23    promptly release individuals from custody.
                                      24    These inadequate training policies existed prior to the date of this incident, during the
                                      25    date of this incident and continue to this day.
                                      26    94.   Defendants CITY and DOES 1 through 7, Inclusive, were aware that failure to
                                      27    implement appropriate training with regards to their officers’ dealing with individuals
                                      28    suffering from mental illnesses and/or in a mental health crisis, would result in

                                            ________________________________________________25_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 26 of 42 Page ID #:26




                                       1    continuing to have numerous unjustified arrests of individuals experiencing a mental

                                       2    health crisis and failures to summon proper medical and mental health care to
                                       3    incarcerated individuals. Furthermore, Defendants COUNTY and DOES 8 through
                                       4    10, Inclusive, were aware that failure to implement appropriate training with regards
                                       5    to prompt release from custody pursuant to Court Orders, summoning proper medical
                                       6    and mental health care to individuals in custody, and dealing with individuals
                                       7    suffering from a mental health crisis, would result in continuing to have numerous
                                       8    violations of the Americans With Disabilities Act, the Fourth, Eighth and Fourteenth
                                       9    Amendments of the United States Constitution and 42 U.S.C. 1983.
                                      10    95.   The failure of the Defendants CITY, COUNTY and DOES 1 through 10,
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                                      11    Inclusive, to provide adequate training as stated above directly caused the deprivation
                                      12
                                            of DECEDENT’s and Plaintiff’s rights by Defendants RUIZ, KIM, CARBONELL,
                                      LAW




                                      13
                                            DOES 1 through 10, Inclusive, and other               CITY and/or COUNTY personnel.
                                      14
                                            Indeed, Defendants’ failure to train is so closely related to the deprivation of the
                                      15
                                            DECEDENT’s and Plaintiff’s rights as to be the moving force that caused the
                                      16
                                            ultimate injuries described above and the premature death of DECEDENT. In fact,
                                      17
                                            the policies, practices, and customs implemented and maintained and still tolerated by
                                      18
                                            Defendants CITY, COUNTY, DOES 1 through 10, Inclusive, were affirmatively
                                      19
                                            linked to and were a significantly influential force behind the injuries and death of
                                      20
                                      21
                                            DECEDENT and the injuries to Plaintiff.

                                      22    96.   By failing to provide adequate training as stated above, Defendants CITY,

                                      23    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, acted with an
                                      24    intentional, reckless, and callous disregard for the life of DECEDENT and the
                                      25    constitutional rights of DECEDENT and Plaintiff.
                                      26    97.   Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and DOES 1
                                      27    through 10, Inclusive, and each of their actions and/or omissions were willful were
                                      28

                                            ________________________________________________26_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 27 of 42 Page ID #:27




                                       1    willful, wanton, oppressive, malicious, oppressive fraudulent, and extremely

                                       2    offensive and unconscionable to any person of normal sensibilities.
                                       3    98.   As a direct and proximate result of and by reason of the aforementioned acts
                                       4    and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                       5    DOES 1 through 10, Inclusive, DECEDENT suffered extreme and severe mental
                                       6    anguish and pain and was injured in mind and body and died prematurely.
                                       7    99.   As a direct and proximate result of and by reason of the aforementioned acts
                                       8    and/or omissions of Defendants and each of them as described supra in this
                                       9    Complaint, Plaintiff suffered extreme and severe mental anguish and pain and have
                                      10    been injured in mind and body, and has been deprived of the life-long love,
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                                      11    companionship, comfort, support, society, care and sustenance of DECEDENT and
                                      12
                                            will continue to be so deprived for the remainder of her natural life.
                                      LAW




                                      13
                                            100. Accordingly, Defendants CITY, COUNTY and DOES 1 through 10, Inclusive,
                                      14
                                            are each liable for compensatory damages, including both survival damages and
                                      15
                                            wrongful death damages under 42 U.S.C. §1983, to Plaintiff who bring this claim as
                                      16
                                            an individual; as a successor-in-interest to DECEDENT and as her natural daughter.
                                      17
                                            101. Plaintiff also seeks attorney fees under this claim.
                                      18
                                                                    SEVENTH CLAIM FOR RELIEF
                                      19
                                                                       False Arrest & Imprisonment
                                      20              (California Govt. Code § 820 and California Common Law)
                                      21
                                                                              (Wrongful Death)
                                                   (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                      22                                 COUNTY and DOES 1-10)
                                      23    102. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      24    through 101 of this Complaint with the same force and effect as if fully set forth
                                      25    herein.
                                      26    103. Defendants CITY, RUIZ, KIM and DOES 1 through 7, Inclusive, while
                                      27    working as police officers for CITY, and acting within the course and scope of their
                                      28

                                            ________________________________________________27_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 28 of 42 Page ID #:28




                                       1    duties, intentionally deprived DECEDENT of her freedom of movement by use of

                                       2    force and unreasonable duress when Defendants RUIZ, KIM and DOES 1
                                       3    through 7, Inclusive, falsely arrested DECEDENT without her consent and without a
                                       4    warrant and/or any justification. Said Defendants’ detention, arrest, restraint and
                                       5    confinement compelled DECEDENT to stay in the presence of Defendants RUIZ,
                                       6    KIM and DOES 1 through 7, Inclusive, and submit to them.
                                       7    104. Furthermore, Defendants CITY, CARBONELL and DOES 1 through 7,
                                       8    Inclusive, falsely and wrongfully imprisoned DECEDENT without her consent and
                                       9    without any justification from February 19, 2021 through February 23, 2021 at LAPD
                                      10    Metropolitan Detention Center where she was forced to stay by said Defendants’ use
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                                      11    of force and unreasonable duress.
                                      12
                                            105. Defendants COUNTY and DOES 8 through 10, Inclusive, also intentionally
                                      LAW




                                      13
                                            deprived DECEDENT of her freedom of movement by use of force and unreasonable
                                      14
                                            duress when Defendants COUNTY and DOES 8 through 10, Inclusive, imprisoned
                                      15
                                            DECEDENT without her consent and without any justification subsequent to her
                                      16
                                            Court-Ordered release and overnight from February 23, 2021 through February 24,
                                      17
                                            2021 at Century Regional Detention Facility Women’s Jail in Lynwood where she
                                      18
                                            was forced to stay by said Defendants’ use of force and unreasonable duress.
                                      19
                                            106. The wrongful acts and/or omissions by Defendants and each of them as
                                      20
                                      21
                                            described supra this Complaint were substantial factors in causing injuries, harm and

                                      22    premature death to DECEDENT.

                                      23    107. CITY and DOES 1 through 7, Inclusive, are vicariously liable for the wrongful
                                      24    acts of Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive,
                                      25    pursuant to section 815.2(a) of the California Government Code, which provides that
                                      26    a public entity is liable for the injuries caused by its employees within the scope of
                                      27    the employment if the employee’s act would subject him or her to liability.
                                      28

                                            ________________________________________________28_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 29 of 42 Page ID #:29




                                       1    108. COUNTY and DOES 8 through 10, Inclusive, are vicariously liable for the

                                       2    wrongful acts of Defendants DOES 8 through 10, Inclusive, pursuant to section
                                       3    815.2(a) of the California Government Code, which provides that a public entity is
                                       4    liable for the injuries caused by its employees within the scope of the employment if
                                       5    the employee’s act would subject him or her to liability.
                                       6    109. As a direct and proximate result of and by reason of the aforementioned acts
                                       7    and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                       8    DOES 1 through 10, Inclusive, DECEDENT died prematurely and Plaintiff has been
                                       9    deprived of the life-long love, companionship, comfort, support, society, care and
                                      10    sustenance of DECEDENT and will continue to be so deprived for the remainder of
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                                      11    her natural life.
                                      12
                                            110. The wrongful conduct and/or omissions of RUIZ, KIM, CARBONELL and
                                      LAW




                                      13
                                            DOES 1 through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent
                                      14
                                            and done with reckless disregard for the rights and safety of DECEDENT and therefore
                                      15
                                            warrants the imposition of exemplary and punitive damages as to the individual
                                      16
                                            Defendants RUIZ, KIM, CARBONELL and DOES 1 through 10, Inclusive.
                                      17
                                            111. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      18
                                            DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      19
                                            both survival damages and wrongful death damages to Plaintiff who bring this claim
                                      20
                                      21
                                            as a successor-in-interest to DECEDENT and as her natural daughter.

                                      22                              EIGHTH CLAIM FOR RELIEF
                                                   Battery (California. Govt. Code § 820 and California Common Law)
                                      23                                      (Wrongful Death)
                                      24             (By Plaintiff against Defendants CITY, RUIZ, KIM and DOES 1-7)
                                      25    112. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      26
                                            through 111 of this Complaint with the same force and effect as if fully set forth
                                      27
                                            herein.
                                      28

                                             ________________________________________________29_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 30 of 42 Page ID #:30




                                       1    113. Defendants RUIZ, KIM and DOES 1 through 7, Inclusive, while working as

                                       2    police officers for CITY, and acting within the course and scope of their duties,
                                       3    intentionally and with willful disregard to DECEDENT’s constitutional rights,
                                       4    unlawfully touched DECEDENT during their arrest of her without her consent.
                                       5    Said unlawful touching offended and/or caused harm to DECEDENT and a
                                       6    reasonable person in DECEDENT’s position would have been offended and/or harm
                                       7    by such touching.
                                       8    114. CITY and DOES 1 through 7, Inclusive, are vicariously liable for the wrongful
                                       9    acts of Defendants RUIZ, KIM and DOES 1 through 10, Inclusive, pursuant to
                                      10    section 815.2(a) of the California Government Code, which provides that a public
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                                      11    entity is liable for the injuries caused by its employees within the scope of the
                                      12
                                            employment if the employee’s act would subject him or her to liability.
                                      LAW




                                      13
                                            115. The wrongful acts and/or omissions by Defendants RUIZ, KIM and DOES 1
                                      14
                                            through 7, Inclusive, and each of them were substantial factors in causing the
                                      15
                                            premature death of DECEDENT and the injuries to the Plaintiff as described supra in
                                      16
                                            this Complaint.
                                      17
                                            116. As a direct and proximate result of and by reason of the aforementioned acts
                                      18
                                            and/or omissions of Defendants CITY, RUIZ, KIM and DOES 1 through 7, Inclusive,
                                      19
                                            DECEDENT died prematurely and Plaintiff has been deprived of the life-long love,
                                      20
                                      21
                                            companionship, comfort, support, society, care and sustenance of DECEDENT and

                                      22    will continue to be so deprived for the remainder of her natural life.

                                      23    117. The wrongful conduct and/or omissions of RUIZ, KIM and DOES 1
                                      24    through 7, Inclusive, was willful, wanton, malicious, oppressive, fraudulent and done
                                      25    with reckless disregard for the rights and safety of DECEDENT and therefore
                                      26    warrants the imposition of exemplary and punitive damages as to the individual
                                      27    Defendants RUIZ, KIM and DOES 1 through 7, Inclusive.
                                      28

                                            ________________________________________________30_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 31 of 42 Page ID #:31




                                       1    118. Accordingly, Defendants CITY, RUIZ, KIM and DOES 1 through 7, Inclusive,

                                       2    are each liable for compensatory damages, including both survival damages and
                                       3    wrongful death damages to Plaintiff who bring this claim as a successor-in-interest to
                                       4    DECEDENT and as her natural daughter.
                                       5                             NINTH CLAIM FOR RELIEF
                                                 Negligence (California Govt. Code § 820 and California Common Law)
                                       6
                                                                            (Wrongful Death)
                                       7           (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                       8                                COUNTY and DOES 1-10)

                                       9    119. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      10    through 118 of this Complaint with the same force and effect as if fully set forth
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                                      11    herein.
                                      12
                                            120. The actions and inactions of the Defendants RUIZ, KIM and DOES 1
                                      LAW




                                      13
                                            through 7, Inclusive, were negligent in, including but not limited to: (a) the failure to
                                      14
                                            properly and adequately assess the need for a ‘5150-hold’ on DECEDENT and her
                                      15
                                            individual need for her mental and physical disabilities; (b) the negligent failure to
                                      16
                                            notice, ascertain and address the urgent health care needs of DECEDENT; (c) the
                                      17
                                            failure to promptly summon medical and mental health care for DECEDENT;
                                      18
                                            (d) the failure to transport DECEDENT to a hospital emergency room or a mental
                                      19
                                            health facility; (e) the negligent tactics in the determination of the basis for
                                      20
                                      21
                                            DECEDENT’s arrest; (f) the negligent detention, arrest, and use of force against

                                      22    DECEDENT; (g) the negligent tactics and handling of the situation with

                                      23    DECEDENT; and (h) the negligent interpretation of DECEDNT’s intentions in her
                                      24    interaction with Mr. Snyder on February 19, 2021.
                                      25    121. The actions and inactions of the Defendant CARBONELL were negligent in,
                                      26    including but not limited to: (a) the negligent failure to notice, ascertain and address
                                      27    the urgent health care of DECEDENT; (b) the failure to promptly summon medical
                                      28    and mental health care for DECEDENT; (c) the failure to transport DECEDENT to a

                                            ________________________________________________31_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 32 of 42 Page ID #:32




                                       1    hospital emergency room or a mental health facility; (d) the negligent continual

                                       2    incarceration of DECEDENT even after becoming aware of the circumstances of her
                                       3    arrest and her urgent health care needs; and (e) the negligent tactics and handling of
                                       4    the situation with DECEDENT.
                                       5    122. The actions and inactions of the Defendants CITY and DOES 1 through 7,
                                       6    Inclusive, were negligent in, including but not limited to, the failure to properly and
                                       7    adequately train employees, including Defendants RUIZ, KIM, CARBONELL and
                                       8    DOES 1 through 7, Inclusive, and other CITY personnel, with regards to the lawful
                                       9    detentions and arrests of individuals experiencing a mental health crisis,
                                      10    determination of the whether these individuals had an intent to commit a crime during
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   5850 Canoga Avenue, Suite 308




                                      11    their mental health crisis, determination of when a ‘5150-hold’ is appropriate as
                                      12
                                            oppose to an arrest, and the appropriate assessment and determination of what urgent
                                      LAW




                                      13
                                            health care is necessary and summoning and/or providing such urgent health care.
                                      14
                                            123. The actions and inactions of the Defendants COUNTY and DOES 8
                                      15
                                            through 10, Inclusive, were negligent in, including but not limited to: (a) the failure to
                                      16
                                            properly and adequately train employees, including DOES 8 through 10, Inclusive,
                                      17
                                            with regards to the confinement of disabled individuals experiencing a mental health
                                      18
                                            crisis such as DECEDENT and the need for special accommodations; (b) the failure
                                      19
                                            to timely release DECEDENT from custody subsequent to the Court-Ordered release;
                                      20
                                      21
                                            (c) the negligent tactics and handling of the situation with DECEDENT; (d) the

                                      22    negligent failure to notice, ascertain and address the urgent health care of

                                      23    DECEDENT; and (e) the failure to provide and/or summons prompt urgent health
                                      24    care to DECEDENT.
                                      25    124. CITY and DOES 1 through 7, Inclusive, are vicariously liable for the wrongful
                                      26    acts of Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive,
                                      27    pursuant to section 815.2(a) of the California Government Code, which provides that
                                      28

                                            ________________________________________________32_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 33 of 42 Page ID #:33




                                       1    a public entity is liable for the injuries caused by its employees within the scope of

                                       2    the employment if the employee’s act would subject him or her to liability.
                                       3    125. COUNTY and DOES 8 through 10, Inclusive, are vicariously liable for the
                                       4    wrongful acts of Defendants DOES 8 through 10, Inclusive, pursuant to section
                                       5    815.2(a) of the California Government Code, which provides that a public entity is
                                       6    liable for the injuries caused by its employees within the scope of the employment if
                                       7    the employee’s act would subject him or her to liability.
                                       8    126. The wrongful acts and/or omissions by Defendants CITY, RUIZ, KIM,
                                       9    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, and each of them were
                                      10    substantial factors in causing harm and premature death to DECEDENT and injuries
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                                      11    to Plaintiff.
                                      12
                                            127. As a direct and proximate result of and by reason of the aforementioned acts
                                      LAW




                                      13
                                            and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      14
                                            DOES 1 through 10, Inclusive, DECEDENT died prematurely,
                                      15
                                            128. As a direct and proximate result of and by reason of the aforementioned acts
                                      16
                                            and/or omissions of Defendants and each of them as described supra in this
                                      17
                                            Complaint, Plaintiff has been deprived of the life-long love, companionship, comfort,
                                      18
                                            support, society, care and sustenance of DECEDENT and will continue to be so
                                      19
                                            deprived for the remainder of her natural life.
                                      20
                                      21
                                            129. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and

                                      22    DOES 1 through 10, Inclusive, are each liable for compensatory damages, including

                                      23    both survival damages and wrongful death damages to Plaintiff who bring this claim
                                      24    as an individual; a successor-in-interest to DECEDENT and as her natural daughter.
                                      25
                                            ///
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                                             ________________________________________________33_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 34 of 42 Page ID #:34




                                       1                              TENTH CLAIM FOR RELIEF
                                                                Intentional Infliction of Emotional Distress
                                       2              (California Govt. Code § 820 and California Common Law)
                                       3                                      (Wrongful Death)
                                                   (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                       4                                 COUNTY and DOES 1-10)
                                       5    130. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                       6    through 129 of this Complaint with the same force and effect as if fully set forth
                                       7    herein.
                                       8    131. The wrongful acts and/or omissions of Defendants CITY, RUIZ, KIM,
                                       9    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, and each of them as
                                      10    described supra in this Complaint were extreme and outrageous so as to exceed all
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                                      11    bounds of that usually tolerated in a civilized community, and were done with the
                                      12
                                            realization that injuries will result and/or with reckless disregard of the probability of
                                      LAW




                                      13
                                            causing the premature death to DECEDENT and injuries to Plaintiff.
                                      14
                                            132. The wrongful acts and/or omissions by Defendants CITY, RUIZ, KIM,
                                      15
                                            CARBONELL, COUNTY and DOES 1 through 10, Inclusive, and each of them were
                                      16
                                            substantial factors in causing the premature death to DECEDENT and injuries to
                                      17
                                            Plaintiff.
                                      18
                                            133. As a direct and proximate result of and by reason of the aforementioned acts
                                      19
                                            and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      20
                                      21
                                            DOES 1 through 10, Inclusive, DECEDENT died prematurely,

                                      22    134. As a direct and proximate result of and by reason of the aforementioned acts

                                      23    and/or omissions of Defendants and each of them as described supra in this
                                      24    Complaint, Plaintiff has been deprived of the life-long love, companionship, comfort,
                                      25    support, society, care and sustenance of DECEDENT and will continue to be so
                                      26    deprived for the remainder of her natural life.
                                      27    135. CITY and DOES 1 through 7, Inclusive, are vicariously liable for the wrongful
                                      28    acts of Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive,

                                             ________________________________________________34_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 35 of 42 Page ID #:35




                                       1    pursuant to section 815.2(a) of the California Government Code, which provides that

                                       2    a public entity is liable for the injuries caused by its employees within the scope of
                                       3    the employment if the employee’s act would subject him or her to liability.
                                       4    136. COUNTY and DOES 8 through 10, Inclusive, are vicariously liable for the
                                       5    wrongful acts of Defendants DOES 1 through 10, Inclusive, pursuant to section
                                       6    815.2(a) of the California Government Code, which provides that a public entity is
                                       7    liable for the injuries caused by its employees within the scope of the employment if
                                       8    the employee’s act would subject him or her to liability.
                                       9    137. The conduct and/or omissions of RUIZ, KIM, CARBONELL and DOES 1
                                      10    through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent and
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   Woodland Hills, California 91367
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                                      11    done with reckless disregard for the rights and safety of DECEDENT and therefore
                                      12
                                            warrants the imposition of exemplary and punitive damages as to the individual
                                      LAW




                                      13
                                            Defendants RUIZ, KIM, CARBONELL and DOES 1 through 10, Inclusive.
                                      14
                                            138. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      15
                                            DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      16
                                            both survival damages and wrongful death damages to Plaintiff who bring this claim
                                      17
                                            as an individual; a successor-in-interest to DECEDENT and as her natural daughter.
                                      18
                                                                    ELEVENTH CLAIM FOR RELIEF
                                      19
                                                Violation of the Tom Bane Civil Rights Act (California Civil Code § 52.1)
                                      20                                      (Wrongful Death)
                                      21
                                                    (By Plaintiff against Defendants CITY, RUIZ, KIM, CARBONELL,
                                                                         COUNTY and DOES 1-10)
                                      22    139. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      23    through 138 of this Complaint with the same force and effect as if fully set forth
                                      24    herein.
                                      25    140. California Civil Code § 52.1 (Tom Bane Civil Rights Act) prohibits any person
                                      26
                                            from interfering and/or attempting to interfere with another person’s exercise or
                                      27
                                            enjoyment of her constitutional rights by threats, intimidation, or coercion.
                                      28

                                            ________________________________________________35_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 36 of 42 Page ID #:36




                                       1    More so, conduct that violates inter alia the Americans With Disabilities Act,

                                       2    the Fourth, Eight and Fourteenth Amendments of the United States Constitution
                                       3    and/or 42 U.S.C. § 1983, violates the California Tom Bane Civil Rights Act.
                                       4    141. The wrongful acts and/or omissions of the Defendants CITY, RUIZ, KIM,
                                       5    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, as described supra in
                                       6    this Complaint deprived DECENDENT of her constitutional right to be secure in her
                                       7    person against unreasonable detentions, seizures and arrests and to receive urgent
                                       8    medical and mental health care while in custody.
                                       9    142. The wrongful acts and/or omissions of the Defendants CITY, RUIZ, KIM,
                                      10    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, as described supra in
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                                      11    this Complaint deprived Plaintiff of her constitutional right to be free from state
                                      12
                                            actions that interfere with Plaintiff’s familial relationship with her mother, the
                                      LAW




                                      13
                                            DECEDENT, in such a manner as to shock the conscience.
                                      14
                                            143. CITY and DOES 1 through 7, Inclusive, are vicariously liable for the wrongful
                                      15
                                            acts of Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive,
                                      16
                                            pursuant to section 815.2(a) of the California Government Code, which provides that
                                      17
                                            a public entity is liable for the injuries caused by its employees within the scope of
                                      18
                                            the employment if the employee’s act would subject him or her to liability.
                                      19
                                            144. COUNTY and DOES 8 through 10, Inclusive, are vicariously liable for the
                                      20
                                      21
                                            wrongful acts of Defendants DOES 8 through 10, Inclusive, pursuant to section

                                      22    815.2(a) of the California Government Code, which provides that a public entity is

                                      23    liable for the injuries caused by its employees within the scope of the employment if
                                      24    the employee’s act would subject him or her to liability.
                                      25    145. The wrongful acts and/or omissions of Defendants CITY, RUIZ, KIM,
                                      26    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, and each of them were
                                      27    substantial factors in causing the harm and premature death to DECEDENT and
                                      28    injuries to Plaintiff.

                                             ________________________________________________36_______________________________________________________
                                                                                                                  COMPLAINT FOR WRONGFUL DEATH
                                                                                                                     AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 37 of 42 Page ID #:37




                                       1    146. As a direct and proximate result of and by reason of the aforementioned acts

                                       2    and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                       3    DOES 1 through 10, Inclusive, DECEDENT died prematurely.
                                       4    147. As a direct and proximate result of and by reason of the aforementioned acts
                                       5    and/or omissions of Defendants and each of them as described supra in this
                                       6    Complaint, Plaintiff has been deprived of the life-long love, companionship, comfort,
                                       7    support, society, care and sustenance of DECEDENT and will continue to be so
                                       8    deprived for the remainder of her natural life.
                                       9    148. The conduct and/or omissions of Defendants RUIZ, KIM, CARBONELL and
                                      10    DOES 1 through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent
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                                      11    and done with reckless disregard for the rights and safety of DECEDENT and
                                      12
                                            Plaintiff and therefore warrants the imposition of exemplary and punitive damages as
                                      LAW




                                      13
                                            to the individual Defendants RUIZ, KIM, CARBONELL and DOES 1 through 10,
                                      14
                                            Inclusive.
                                      15
                                            149. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      16
                                            DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      17
                                            both survival damages and wrongful death damages to Plaintiff who brings this claim
                                      18
                                            as a successor-in-interest to DECEDENT and as her natural daughter.
                                      19
                                            150. Plaintiff also seeks attorney fees under this claim and all other damages,
                                      20
                                      21
                                            including but not limited to all statutory damages and/or treble damages, pursuant to

                                      22    the Tom Bane Civil Rights Act.

                                      23                            TWELFTH CLAIM FOR RELIEF
                                                           Violation of the American With Disabilities Act (ADA)
                                      24                     (By Plaintiff against Defendants CITY, RUIZ, KIM,
                                      25                         CARBONELL, COUNTY and DOES 1-10)
                                            151. Plaintiff repeats and realleges each and every allegation in paragraphs 1
                                      26
                                            through 150 of this Complaint with the same force and effect as if fully set forth
                                      27
                                      28
                                            herein.


                                            ________________________________________________37_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 38 of 42 Page ID #:38




                                       1    152. Title II of the Americans with Disabilities Act (ADA) provides that:

                                       2    "No qualified individual with a disability shall, by reason of such disability, be
                                       3    excluded from participation in or be denied the benefit of the services, programs, or
                                       4    activities of a public entity, or be subjected to discrimination by any such entity."
                                       5    A 'public agency,' is defined as, "any department, agency, special purpose district, or
                                       6    other instrumentality of a State or States or local government." Title II of the ADA
                                       7    applies to law enforcement agencies because they are deemed to be 'programs of state
                                       8    or local governments.' The ADA affects the core activities of law enforcement
                                       9    departments including, yet not limited to, arresting, booking and providing
                                      10    emergency medical services. A person is considered to have a disability if the person
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                                      11    has a physical or mental impairment that substantially limits one or more major life
                                      12
                                            activities; has a record of such impairment; or is regarded as having such impairment.
                                      LAW




                                      13
                                            153. At all relevant times herein, DECEDENT suffered from a serious mental
                                      14
                                            disability within the meaning of the Americans With Disabilities Act (ADA), to wit,
                                      15
                                            manic depressive bipolar disorder with suicidal ideation. She also suffered from
                                      16
                                            insomnia and had breathing problems while sleeping which required a C-PAP
                                      17
                                            machine, and was weighing approximately 380 pounds, all of which caused her to be
                                      18
                                            disabled under the ADA. Indeed, at all relevant times herein, Plaintiff’s
                                      19
                                            aforementioned physical and mental impairments substantially limited one or more of
                                      20
                                      21
                                            her major life activities; and she had a record of suffering from such impairments;

                                      22    was regarded by her physicians as having such impairments; and was prescribed

                                      23    medications for said impairments.
                                      24    154. Defendants CITY, RUIZ, KIM and DOES 1 through 7, Inclusive, arrested
                                      25    DECEDENT as described supra in this Complaint because, in part, they
                                      26    misperceived the effects of DECEDENT’s disability as a 'criminal activity.'
                                      27    Moreover, Defendants CITY, RUIZ, KIM and DOES 1 through 7, Inclusive, failed to
                                      28    provide reasonable accommodation during the course of their investigation, arrest

                                            ________________________________________________38_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 39 of 42 Page ID #:39




                                       1    and/or incarceration of DECEDENT, causing her to suffer greater injury and

                                       2    indignity in the process than other arrestees. Furthermore, Defendants CITY,
                                       3    CARBONELL and DOES 1 through 7, Inclusive, failed to accommodate the
                                       4    impairments and disabilities of DECEDENT even after they were specifically put on
                                       5    notice of DECEDENT’s disabilities before her arrest, and were also put on notice
                                       6    again by her sister, Anita Bower, while DECEDENT was already incarcerated.
                                       7    Moreover, Defendants CITY and DOES 1 through 7, Inclusive, failed to train
                                       8    Defendants RUIZ, KIM, CARBONELL and DOES 1 through 7, Inclusive, on Title II
                                       9    of the ADA and how to interact with people who experience forms of disabilities and
                                      10    in particular mental illnesses and how to accommodate and treat their disabilities.
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                                      11    155. Defendants COUNTY and DOES 8 through 10, Inclusive, failed to provide
                                      12
                                            reasonable accommodation during the course of their seizure and incarceration of
                                      LAW




                                      13
                                            DECEDENT, causing her to suffer greater injury and indignity in the process than
                                      14
                                            other incarcerated people. Moreover, Defendants COUNTY and DOES 8 through 10,
                                      15
                                            Inclusive, failed to train Defendants DOES 8 through 10, Inclusive, on Title II of the
                                      16
                                            ADA and how to interact with people who experience forms of disabilities and in
                                      17
                                            particular mental illnesses and how to accommodate and treat their disabilities.
                                      18
                                            156. Said failures of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      19
                                            DOES 1 through 10, Inclusive, to appropriately train its law enforcement personnel
                                      20
                                      21
                                            and other employees for encounters with people with disabilities and with

                                      22    DECEDENT in particular, resulted in Title II ADA violation and discrimination

                                      23    against DECEDENT.
                                      24    157. The wrongful acts and/or omissions of Defendants CITY, RUIZ, KIM,
                                      25    CARBONELL, COUNTY and DOES 1 through 10, Inclusive, and each of them,
                                      26    were substantial factors in causing severe emotional distress and anguish, injuries,
                                      27    harm and premature death to DECEDENT; and injuries, harm and severe emotional
                                      28    distress and anguish to Plaintiff.

                                            ________________________________________________39_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                                      Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 40 of 42 Page ID #:40




                                       1    158. As a direct and proximate result and by reason of the aforementioned acts

                                       2    and/or omissions of Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                       3    DOES 1 through 10, Inclusive, DECEDENT suffered extreme and severe mental
                                       4    anguish and pain and was injured in mind and body and died prematurely.
                                       5    159. As a direct and proximate result of and by reason of the aforementioned acts
                                       6    and/or omissions of Defendants and each of them as described supra in this
                                       7    Complaint, Plaintiff suffered extreme and severe mental anguish and pain and have
                                       8    been injured in mind and body, and has been deprived of the life-long love,
                                       9    companionship, comfort, support, society, care and sustenance of DECEDENT and
                                      10    will continue to be so deprived for the remainder of her natural life.
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                                      11    160. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and
                                      12
                                            DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      LAW




                                      13
                                            both survival damages and wrongful death damages to Plaintiff who bring this claim
                                      14
                                            as an individual; a successor-in-interest to DECEDENT and as her natural daughter.
                                      15
                                            161. The conduct and/or omissions of Defendants RUIZ, KIM, CARBONELL and
                                      16
                                            DOES 1 through 10, Inclusive, was willful, wanton, malicious, oppressive, fraudulent
                                      17
                                            and done with reckless disregard for the rights and safety of DECEDENT and
                                      18
                                            Plaintiff and therefore warrants the imposition of exemplary and punitive damages as
                                      19
                                            to the individual Defendants RUIZ, KIM, CARBONELL and DOES 1 through 10,
                                      20
                                      21
                                            Inclusive.

                                      22    162. Accordingly, Defendants CITY, RUIZ, KIM, CARBONELL, COUNTY and

                                      23    DOES 1 through 10, Inclusive, are each liable for compensatory damages, including
                                      24    both survival damages and wrongful death damages to Plaintiff who brings this claim
                                      25    as a successor-in-interest to DECEDENT and as her natural daughter.
                                      26    163. Plaintiff also seeks attorney fees under this claim and all other damages,
                                      27    including but not limited to all statutory damages and/or punitive damages, pursuant
                                      28    to Americans With Disabilities Act (ADA).

                                            ________________________________________________40_______________________________________________________
                                                                                                                 COMPLAINT FOR WRONGFUL DEATH
                                                                                                                    AND SURVIVAL ACTION DAMAGES
                        Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 41 of 42 Page ID #:41




                             1                                  PRAYER FOR RELIEF
                         2              WHEREFO RE, Plaintiff, CLAIRECE R. ANDRUS, requests entry of
                         3 judgment in her favor and against Defendants CITY OF LOS ANGELES; COUNTY
                         4       OF LOS ANGELES; LAPD Officer KIM (Badge #42236); LAPD Officer RUIZ
                         5       (Badge #44215); LAPD Officer CARBONE LL (Unknown Badge Number); and
                         6       DOES 1 through 10, Inclusive, as follows:
                         7       A.     For compensatory damages, including both survival damages and wrongful
                         8       death damages under federal and state law, in the amount to be proven at trial;
                         9       B.     For loss of earning capacity;
                        10
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z       ~
                                 C.     For funeral and cremation expenses;
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                                 D.     For punitive damages against the individual defendants in an amount to be
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            ·-                   proven at trial;
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o"" ul..,. ~., aui'              E.     For each and every statutory damage allowed by law;
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ti: ....l u ~                    F.     For treble damages under the Tom Bane Civil Rights Act.
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                                 G.    For interest;
                        16
                                 H.    For reasonable costs of this suit and attorneys' fees; and
                        17
                                 I.    For such further other relief as the Court may deem just, proper, and
                        18
                                 appropriate.
                        19
                        20
                        21       Dated: January 6, 2022           LAW OFFICES OF ETAN Z. LORANT
                        22


                                                                        &~ ~
                        23
                        24                                       By:
                        25
                                                                        ETAN ~
                                                                        Attorneys for Plaintiff,
                        26                                              CLAIRECE R. ANDRUS
                        27
                        28

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                                                                                          COMPLAINT FOR WRONGFUL DEATH
                                                                                            AND SURVIVAL ACTION DAMAGES
Case 2:22-cv-00144-JAK-PD Document 1 Filed 01/07/22 Page 42 of 42 Page ID #:42




 1                            DEMAND FOR JURY TRIAL
 2         Plaintiff, CLAIRECE R. ANDRUS, hereby demands a trial by jury.
 3
 4

 5   Dated: January 6, 2022       LAW OFFICES OF ETAN Z. LORANT
 6

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 8                                By:~~~
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                                        ETAN ~ N T ,
 9
                                        Attorneys for Plaintiff,
10                                      CLAIRECE R. ANDRUS




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                                                        COMPLAINT FOR WRONGFUL DEATH
                                                          AND SURVIVAL ACTION DAMAGES
